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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


TRAVONE D. WILLIAMS,                     )
                                         )
        Plaintiff,                       )
                                         )         CIVIL ACTION NO.
        v.                               )           2:20cv374-MHT
                                         )                (WO)
OFFICER T. BOYD, et al.,                 )
                                         )
        Defendants.                      )

                                   OPINION

      Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner,          filed    this   lawsuit     complaining       that    the

defendant          correctional      officers       subjected      him   to

excessive use of force.             This lawsuit is now before the

court        on    the     recommendation     of    the   United    States

Magistrate Judge that plaintiff’s case be dismissed for

failure       to    prosecute      and    follow    the   orders   of    the

court.        There are no objections to the recommendation.

After an independent and de novo review of the record,

the     court       concludes      that      the    magistrate     judge’s

recommendation should be adopted.
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An appropriate judgment will be entered.

DONE, this the 28th day of September, 2020.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
